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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION



FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA,
STATE OF ILLINOIS,
STATE OF MINNESOTA,
STATE OF NEW YORK,
STATE OF WASHINGTON                          Case No. 1:23-cv-03053
and
STATE OF WISCONSIN,

                       Plaintiffs,           Judge John F. Kness

v.

AMGEN INC.
and
HORIZON THERAPEUTICS PLC,

                    Defendants.




            PLAINTIFFS AND DEFENDANTS’ JOINT MOTION
     FOR ENTRY OF STIPULATION AND PROPOSED ORDER MODIFYING
              THE COURT’S CASE MANAGEMENT ORDER
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         Plaintiffs and Defendants respectfully move this Court for an order entering the parties’

joint stipulation, extending certain deadlines in the Court’s Case Management Order. ECF No.

58. Plaintiffs and Defendants believe that the proposed short extensions of specific deadlines are

in the interests of the parties and will not delay the Court’s planned evidentiary hearing.

         Specifically, the parties jointly request the following modifications:

 Event                                                   Current Date             Proposed
                                                                                  Modified Date

 Plaintiff’s Reply Brief in Further Support of           September 1, 2023        September 5, 2023
 Motion for Preliminary Injunction and Plaintiff’s                                (noon ET)
 Rebuttal Expert Reports


 Deadline to Complete Expert Depositions                 September 6, 2023        September 11, 2023




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Dated: August 28, 2023                            Respectfully submitted,

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